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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE


SYMBOLOGY INNOVATIONS, LLC,

                             Plaintiff,
       v.                                          C.A. No. 1:19-cv-01025-RGA

WONDERWILL LTD
ZAPPER MARKETING LIMITED,
ZAPPER MARKETING (USA) INC.,

                             Defendants,


   DEFENDANT WONDERWILL LTD’S AND ZAPPER MARKETING LIMITED’S
                     MOTION TO DISMISS

       Pursuant to Federal Rules of Civil Procedure 12(b)(2) and 12(b)(5), Defendants

Wonderwill Ltd and Zapper Marketing Limited hereby move to dismiss the Complaint of

Plaintiff Symbology Innovations, LLC (D.I. 1). The grounds for this Motion are set forth in

Wonderwill Ltd’s and Zapper Marketing Limited’s opening brief, filed concurrently herewith.


Dated: December 4, 2019                        BAYARD, P.A.

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